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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                   No.     21-mj-00464
SHAWN PRICE,                              )
                                          )
            Defendant.                    )
__________________________________________)

                     RESPONSE TO PRETRIAL VIOLATION REPORT

       The United States of America, through undersigned counsel, files this response to the

pretrial violation report for defendant Shawn Price filed on January 13, 2022. Given the unusual

circumstances surrounding his first attempt to enter inpatient treatment—his positive COVID test

and the ensuing need to quarantine—the government believes that Mr. Price can be given

another chance to report to inpatient treatment following the end of his mandatory quarantine

period. However, the government agrees with pretrial services that Mr. Price should be required

to produce a new third party custodian, due to the content of his existing custodian’s

communications with the pretrial services officer, which are outlined in the attachments to the

pretrial services violation report, see Dkts. 20-1, 20-2, and 20-4.



                                               Respectfully submitted,

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                                               United States Attorney
                                               D.C. Bar No. 481052


                                               /s/ William Dreher
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